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Prob12B
(1/06)

                                          United States District Court
                                               for the District of Maine

                          Request for Modifying the Conditions or Term of Supervision
                                         with Consent of the Offender
                                            (Probation Form 49, Waiver of Hearing is Attached)




 Name of Offender: Jeffrey Shields                                                               Case Number: 1:03CR-46-B-W
 Name of Sentencing Judicial Officer: Honorable John A. Woodcock, Jr., Chief U.S. District Judge
 Date of Original Sentence: September 30, 2003
 Original Offense: Possession of Child Pornography
 Original Sentence: 57 months Imprisonment - 3 years Supervised Release
 Type of Supervision: Supervised Release                               Date Supervision Commenced: February 12, 2009

                                           PETITIONING THE COURT

[ ]       To extend the term of supervision for years, for a total term of years.
[X]       To modify the conditions of supervision as follows:


Shields’ whereabouts will be monitored using Global Positioning System (GPS) for a period of no less
that six months.

Shields will not reside with any minors. Shields residence should not be in the immediate area where
minors congregate without parental or adult supervision.

Shields’ contact with any minors must be approved by his community release team coordinator. Contact
is defined herein as in-person contact, or via correspondence, telephone, or any other electronic means.
        a.    If deemed necessary by the release team, Shields’ contact with minors will be directly
              supervised by a responsible adult or chaperone. This person must be approved by the
              community release team. The responsible adult should:
              i.      Be made explicitly aware of Shields’ criminal history and sexual risk factors;
              ii.     Receive explicit instructions to immediately report any deviations from the terms of
                      this release plan.

Shields will not reside with anyone who presents a significant risk factor, sexual or otherwise, as judged
by his release team.

Shields will provide a list of all potential visitors to his home. The appropriateness of each visitor should
be carefully assessed by his community release team.

Shields will refrain from accepting or seeking civic, religious, or other voluntary positions where he may
be in a position of authority or influence over children and their families.
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 Prob 12B
                                                 -2-                                 Request for Modifying the
                                                                             Conditions or Terms of Supervision
                                                                                   with Consent of the Offender




Shields will not associate with anyone, except while in a treatment program or structured living
environment (e.g., sober living house), who is known to be a sex offender or someone who condones or
supports sexual abuse and exploitation of others.

The Following may threaten the management of Shield’s sobriety and/or sexual deviance disorder.
Accordingly, Shield’s is prohibited from possessing:
      a.     Sexually explicit and/or obscene materials or paraphernalia, whether written, printed,
             photographed, electronic, computerized, or recorded;
      b.     Anything that overly promotes or glamorizes criminal activity; and
      c.     Anything that overly promotes or supports child-adult sexual relations.

Shields will not frequent, patronize or be seen in or around places or establishments that promote sex
trade or sell pornography.

Shields will not loiter in public restrooms or around places where minors congregate, such as arcades,
schools, amusement parks, skateboard parks, water parks, etc.
       a.      In order to attend an event where unsupervised minors may be present, Shields must first
               obtain permission from his release team and have an approved chaperone.
Shields will not operate any personal computer or other electronic device (e.g., cell phone, gaming
system) with Internet access, unless it has been approved by the community release team; and
       b.      Appropriate monitoring and filtering software have been installed, and/or
       c.      Appropriate user controls/restrictions have been placed in the device.

Shields’ employment should be carefully screened by the release team. His employer should be notified
of relevant risk factors, as determined by the community release team.
        a.     His job should not permit direct contact with or supervision of minors;
        b.     He should not work (ideally) in any position that requires him to handle or serve alcohol;
        c.     If his job requires Internet access, additional conditions may be stipulated (e.g., placing his
               workstation in view of others, installing monitoring/filtering software).

Shields will participate in the following aftercare treatment and support services:
       a.      Weekly attendance in Alcoholic Anonymous meeting;
       b.      Weekly attendance in an aftercare, relapse prevention-focused group for sex offenders;
               i.     The treatment provider should be a mental health professional judged to have
                      adequate clinical experience treating sex offenders;
       c.      continued psychopharmacological treatment with appropriate psychiatric monitoring;
               i.     The current treatment includes fluoxetine (Prozac) 40 mg/day; and
       d.      Individual therapy, as needed.

Shields should receive regular Maintenance Polygraph Examinations to monitor his compliance with the
conditions of conditional release.
       a.      The exams should be conducted approximately once every six months (or more frequently,
               as determined by the release team).
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 Prob 12B
                                                 -3-                                Request for Modifying the
                                                                            Conditions or Terms of Supervision
                                                                                  with Consent of the Offender


Shields will have a late night curfew for the first six months of conditional release (10 p.m. to 6 a.m.).
The curfew should be modified and/or discontinued in a manner consistent with his clinical progress and
successful community reintegration.

Shields will keep a driving log which documents his vehicular travel destination, mileage, routes and
times. This log should be turned in to his release team coordinator on a bi-weekly basis.

Shields will keep a weekly log of all activities and locations where those activities took place. This log
should be turned in to his release team coordinator on a weekly basis.

Shields will not consume or possess alcoholic beverages.
       a.      He will also be subject to random breathalyzer tests and urinalysis (also to screen for drug
               use).

Shields shall at all times readily submit to a search of his residence, and of any other premises under his
dominion and control, by his supervising officer, upon the officer’s request when the officer has
reasonable basis to believe that such a search will lead to the discovery of evidence of violation of the
terms of supervised release, including pornographic materials that Defendant is prohibited from
possessing under the rules of his sex offender treatment program.

The defendant be placed in a Residential Re-Entry Center immediately for a duration of twelve months
or until the Court Orders otherwise.
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 Prob 12B
                                                  -4-                                 Request for Modifying the
                                                                              Conditions or Terms of Supervision
                                                                                    with Consent of the Offender




                                                   CAUSE

In February 2009, the defendant was civilly committed to the custody of the BOP after the Honorable Patti
Saris of the United States District Court, District of Massachusetts, found he met the criteria as a Sexually
Dangerous Person. On June 9, 2011, Judge Saris released the defendant on the conditions of release. The
Probation Office recommends this modification so that Mr. Shields has the same conditions for both his civil
supervision and his criminal supervision. As illustrated by the attached waiver of hearing form, the defendant
agrees to this modification.


                                                                   Respectfully submitted,



                                                           By
                                                                   Ryan E. Petroff
                                                                   Supervisory U.S. Probation Officer
                                                                   Date: June 22, 2011

Reviewed:




Timothy J. Duff
Supervisory U.S. Probation Officer
Date: June 22, 2011
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PROB 49
                                  Waiver of Hearing to Modify Conditions
                       of Probation/Supervised Release or Extend Term of Supervision

                         UNITED STATES DISTRICT COURT
                                                 for the
                                         District of Maine

       I have been advised and understand that I am entitled by law to a hearing and assistance
of counsel before any unfavorable change may be made in my Conditions of Probation and
Supervised Release or my period of supervision beingextended. By 'assistance of counsel', I
understand that I have the right to be represented at the hearing by counsel of my own choosing if
I am able to retain counsel. I also understand that I have the right to request the court to appoint
counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of
my own choosing. I further understand that the grounds for this modification/extension can be
used at a later date for further court action if I continue to violate the conditions of my
supervision.

        I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I
also agree to the following modification of my Conditions of Probation and Supervised Release
or to the proposed extension of my term of supervision:

Shields' whereabouts will be monitored using Global Positioning System (GPS) for a period
of no less that six months.


Shields will not reside with any minors. Shields residence should not be in the immediate
area where minors congregate without parental or adult supervision.

Shields' contact with any minors must be approved by his community release team
coordinator. Contact is defined herein as in-person contact, or via correspondence,
telephone, or any other electronic means.
       a.     If deemed necessary by the release team, Shields' contact with minors will be
              directly supervised by a responsible adult or chaperone. This person must
              be approved by the community release team. The responsible adult should:
              i.      Be made explicitly aware of Shields' criminal history and sexual risk
                        factors;
                ii.     Receive explicit instructions to immediately report any deviations
                        from the terms of this release plan,
                iii.
Shields will not reside with anyone who presents a significant risk factor, sexual or
otherwise, as judged by his release team.

Shields will provide a list of all potential visitors to his home. The appropriateness of each
visitor should be carefully assessed by his community release team.

Shields will refrain from accepting or seeking civic, religious, or other voluntary positions
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where he may be in a position of authority or influence over children and their families.

Shields will not associate with anyone, except while in a treatment program or structured
living environment (e.g., sober living house), who is known to be a sex offender or someone
who condones or supports sexual abuse and exploitation of others

The Following may threaten the management of Shield's sobriety and/or sexual deviance
disorder. Accordingly, Shield's is prohibited from possessing:
       a.    Sexually explicit and/or obscene materials or paraphernalia, whether
             written, printed, photographed, electronic, computerized, or recorded;
       b.    Anything that overly promotes or glamorizes criminal activity; and
       c.    Anything that overly promotes or supports child-adult sexual relations.

Shields will not frequent, patronize or be seen in or around places or establishments that
promote sex trade or sell pornography.

Shields will not loiter in public restrooms or around places where minors congregate, such
as arcades, schools, amusement parks, skateboard parks, water parks, etc.
       a.      In order to attend an event where unsupervised minors may be present,
               Shields must first obtain permission from his release team and have an
               approved chaperone.
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gaming system) with Internet access, unless it has been approved by the community release
team; and
       b.      Appropriate monitoring and filtering software have been installed, and/or
       c.      Appropriate user controls/restrictions have been placed in the device.

Shields' employment should be carefully screened by the release team. His employer
should be notified of relevant risk factors, as determined by the community release team.
       a.     His job should not permit direct contact with or supervision of minors;
       b.     He should not work (ideally) in any position that requires him to handle or
               serve alcohol;
       c.      If his job requires Internet access, additional conditions may be stipulated
               (e.g., placing his workstation in view of others, installing monitoring/filtering
               software).

Shields will participate in the following aftercare treatment and support services:
       a.     Weekly attendance in Alcoholic Anonymous meeting;
       b.     Weekly attendance in an aftercare, relapse prevention-focused group for sex
               offenders;
               i.     The treatment provider should be a mental health professional judged
                      to have adequate clinical experience treating sex offenders;
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       c.      continued psychopharmacological treatment with appropriate psychiatric
               monitoring;
               i.     The current treatment includes fluoxetine (Prozac) 40 mg/day; and
       d.      Individual therapy, as needed.

Shields should receive regular Maintenance Polygraph Examinations to monitor his
compliance with the conditions of conditional release.
      a.     The exams should be conducted approximately once every six months (or
             more frequently, as determined by the release team).

Shields will have a late night curfew for the first six months of conditional release (10 p.m.
to 6 a.m.). The curfew should be modified and/or discontinued in a manner consistent with
his clinical progress and successful community reintegration.

Shields will keep a driving log which documents his vehicular travel destination, mileage,
routes and times. This log should be turned in to his release team coordinator on a bi
weekly basis.

Shields will keep a weekly log of all activities and locations where those activities took
place. This log should be turned in to his release team coordinator on a weekly basis.

Shields will not consume or possess alcoholic beverages.
       a.      He will also be subject to random breathalyzer tests and urinalysis (also to
               screen for drug use).



Shields shall at all times readily submit to a search of his residence, and of any other
premises under his dominion and control, by his supervising officer, upon the officer's
request when the officer has reasonable basis to believe that such a search will lead to the
discovery of evidence of violation of the terms of supervised release, including
pornographic materials that Defendant is prohibited from possessing under the rules of his
sex offender treatment program.

The defendant be placed in a Residential Re-Entry Center immediately for a duration of
twelve months or until the Court Orders otherwise.




Witness:




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                                             DATE '
